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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF OKLAHOMA
UNITED STATES OF AMERICA,                                                       )
                                                                                )
                                      Plaintiff,                                )
vs.                                                                             )          Case No. CR-18-227-SLP
                                                                                )
JOSEPH MALDONADO-PASSAGE,                                                       )
                                                                                )
                                      Defendant.                                )

                                               MINUTE SHEET OF PROCEEDINGS
                                               DAY 7 OF CRIMINAL JURY TRIAL

 Honorable Scott L. Palk, Presiding                                       Marcia J. Davis, Deputy Clerk

 Emily Eakle, Court Reporter                                              Date proceedings held: 4/2/2019 @ 9:00 a.m.
                                                                          Time in court: 2.5
                                                                          hours.


 Appearance for plaintiff(s):                                             Appearance for defendant(s): William P. Earley and Kyle E.
 Amanda Leigh Maxfield Green and Charles William Brown                    Wackenheim



HEARING CONCLUDED: ☐ Yes; ☒ No;

Type of Hearing held:
                                              ☐ JURY SELECTION; and ☒                  JURY TRIAL;

 Hearing held on: Parties present. Closing arguments heard. The Jury deliberates and returns a verdict of guilty on all counts.


  ☐ Motion Hearing:                                ☐ Discovery Hearing:                            ☐ Evidentiary Hearing:
  ☐ Evidentiary hearing - Contested;               ☐ Evidentiary hearing - Contested;              ☐ Evidentiary hearing - Contested;
  ☐ Other proceeding - Non-evidentiary;            ☐ Other proceeding - Non-evidentiary;           ☐ Other proceeding - Non-evidentiary;

  ☐ Miscellaneous Hearing:                         ☐ Show Cause Hearing:                           ☐ Telephone conference:
  ☐ Evidentiary hearing - Contested;               ☐ Evidentiary hearing - Contested;              ☐ Evidentiary hearing - Contested;
  ☐ Other proceeding - Non-evidentiary;            ☐ Other proceeding - Non-evidentiary;           ☐ Other proceeding - Non-evidentiary;

  ☐ Informal conference held:                      ☒ Trial Status:                                 ☐ Other:
  ☐ Evidentiary hearing - Contested;               ☐ Evidentiary hearing - Contested;              ☐ Evidentiary hearing - Contested;
  ☐ Other proceeding - Non-evidentiary;            ☒ Other proceeding - Non-evidentiary;           ☐ Other proceeding - Non-evidentiary;

  ☐ Evidence entered;                              ☐ Witness testimony heard;                      ☐ Oral arguments only;

Status of Proceedings (Required if one of the above is selected):
  ☒ Completed by Jury Verdict;                     ☐ Jury Selection only, continued;             ☐ Continued from previous month;

  ☐ Jury Selection or Verdict only;                ☐ Directed Verdict;                           ☐ Mistrial;

  ☒ Evidence Entered;                              ☐ Guilty;                                     ☐ Findings from the Bench;

  ☐ None;                                          ☐ Written Order to follow;                    ☐ Proceedings continued to:

  ☐ Issue Settled/Resolved;                        ☐ Continued proceedings from:                 ☒ Court Adjourned;

  Other specifics:
                                                                                                                                Rev.Minute.motion.2014
